       Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 1 of 34




 1   Gary A. Gotto
     Keller Rohrback L.L.P
 2   3101 N. Central Avenue, Suite 1400
 3   Phoenix, Arizona 85012
     Tel: (602) 248-0088
 4   Fax: (602) 248-2822
 5   ggotto@kellerrohrback.com
 6   Liaison Counsel for Plaintiff
 7
     [Additional Counsel on Signature Page]
 8
 9                        UNITED STATES DISTRICT COURT
10                            DISTRICT OF ARIZONA

11
12   Daniel Norris, Individually and on Behalf      No.
     of All Others Similarly Situated,
13                                                  CLASS ACTION COMPLAINT
14                Plaintiff,                        FOR VIOLATIONS OF THE
                                                    FEDERAL SECURITIES LAWS
15
           v.
16
17   Raytheon Technologies Corporation              CLASS ACTION
     f/k/a Raytheon Company; Thomas A.
18   Kennedy; Anthony F. O’Brien; and               (DEMAND FOR JURY TRIAL)
19   Michael J. Wood,
20                Defendants.
21
22
           Plaintiff Daniel Norris (“Plaintiff”), individually and on behalf of all others
23
24   similarly situated, by Plaintiff’s undersigned attorneys, alleges the following based

25   upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and upon
26
     information and belief as to all other matters based on the investigation conducted
27
28
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
29                    OF THE FEDERAL SECURITIES LAWS
30
       Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 2 of 34



 1   by and through Plaintiff’s attorneys, which included, among other things, a review

 2   of United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings by
 3
     Raytheon Technologies Corporation f/k/a Raytheon Company (“Raytheon” or the
 4
 5   “Company”), as well as media and analyst reports about the Company and
 6   Company press releases. Plaintiff believes that substantial additional evidentiary
 7
     support will exist for the allegations set forth herein after a reasonable opportunity
 8
 9   for discovery.
10
                                NATURE OF THE ACTION
11
           1.     This is a federal securities class action on behalf of a class consisting
12
13   of all persons and entities that purchased or otherwise acquired Raytheon
14
     securities between February 10, 2016 and October 27, 2020, inclusive (the “Class
15
16   Period”). Plaintiff seeks to recover compensable damages caused by Defendants’
17   violations of the federal securities laws under the Securities Exchange Act of 1934
18
     (the “Exchange Act”).
19
20                            JURISDICTION AND VENUE
21         2.     The claims asserted herein arise under and pursuant to Sections 10(b)
22
     and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
23
24   promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).
25
26
27
28
29                                      2
                      CLASS ACTION COMPLAINT FOR VIOLATIONS
30                       OF THE FEDERAL SECURITIES LAWS
31
       Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 3 of 34



 1            3.   This Court has jurisdiction over the subject matter of this action

 2   pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §
 3
     78aa).
 4
 5            4.   This Court has jurisdiction over each defendant named herein
 6   because each defendant has sufficient minimum contacts with this judicial district
 7
     so as to render the exercise of jurisdiction by this Court permissible under
 8
 9   traditional notions of fair play and substantial justice. The Company’s Missiles &
10
     Defense segment is also headquartered in this district at 1151 E. Hermans Road,
11
12   Tucson, Arizona 85756.
13            5.   Venue is proper in this judicial district pursuant to 28 U.S.C. §
14
     1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged
15
16   misstatements entered and the subsequent damages took place in this district and
17
     the Company’s Missiles & Defense segment is headquartered in this district.
18
19            6.   In connection with the acts, conduct and other wrongs alleged in this
20   complaint, Defendants, directly or indirectly, used the means and instrumentalities
21
     of interstate commerce, including but not limited to, the U.S. mails, interstate
22
23   telephone communications and the facilities of a national securities exchange.
24
     Defendants disseminated the statements alleged to be false and misleading herein
25
26   into this district, and Defendants solicited purchasers of Raytheon securities in this

27   district.
28
29                                    3
                    CLASS ACTION COMPLAINT FOR VIOLATIONS
30                     OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 4 of 34



 1                                        PARTIES

 2         7.     Plaintiff, as set forth in the accompanying Certification, purchased
 3
     the Company’s securities at artificially inflated prices during the Class Period and
 4
 5   was damaged upon the revelation of the alleged corrective disclosure.

 6         8.     Defendant Raytheon is incorporated in Delaware and its head office
 7
     is located at 870 Winter Street, Waltham, Massachusetts 02451.            Raytheon
 8
 9   securities trade in an efficient market on the New York Stock Exchange (“NYSE”)
10   under the ticker symbol “RTX.”
11
           9.     Defendant Thomas A. Kennedy (“Kennedy”) has served as the
12
13   Company’s Executive Chairman since April 2020. Defendant Kennedy served as
14
     the Company’s Chairman and Chief Executive Officer prior to the beginning of
15
16   the Class Period to April 2020.
17         10.    Defendant Anthony F. O’Brien (“O’Brien”) has served as the
18
     Company’s Chief Financial Officer (“CFO”) since April 2020.              Defendant
19
20   O’Brien served as the Company’s Vice President and CFO prior to the beginning
21
     of the Class Period to April 2020.
22
23         11.    Defendant Michael J. Wood (“Wood”) has served as the Company’s

24   Vice President and Controller since April 2020. Defendant Wood served as the
25
     Company’s Vice President, Controller, and Chief Accounting Officer prior to the
26
27   beginning of the Class Period to April 2020.
28
29                                   4
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
       Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 5 of 34



 1         12.    Defendants Kennedy, O’Brien, and Wood are collectively referred to

 2   herein as the “Individual Defendants.”
 3
           13.    Each of the Individual Defendants: (i) directly participated in the
 4
 5   management of the Company; (ii) was directly involved in the day-to-day
 6   operations of the Company at the highest levels; (iii) was privy to confidential
 7
     proprietary information concerning the Company and its business and operations;
 8
 9   (iv) was directly or indirectly involved in drafting, producing, reviewing and/or
10
     disseminating the false and misleading statements and information alleged herein;
11
12   (v) was directly or indirectly involved in the oversight or implementation of the
13   Company’s internal controls; (vi) was aware of or recklessly disregarded the fact
14
     that the false and misleading statements were being issued concerning the
15
16   Company; and/or (vii) approved or ratified these statements in violation of the
17
     federal securities laws.
18
19         14.    The Company is liable for the acts of the Individual Defendants and
20   its employees under the doctrine of respondeat superior and common law
21
     principles of agency because all of the wrongful acts complained of herein were
22
23   carried out within the scope of their employment.
24
           15.    The scienter of the Individual Defendants and other employees and
25
26   agents of the Company is similarly imputed to the Company under respondeat

27   superior and agency principles.
28
29                                    5
                    CLASS ACTION COMPLAINT FOR VIOLATIONS
30                     OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 6 of 34



 1         16.    The Company and the Individual Defendants are referred to herein,

 2   collectively, as the “Defendants.”
 3
                            SUBSTANTIVE ALLEGATIONS
 4
 5                                        Background

 6         17.    Raytheon purports to be an aerospace and defense company
 7
     providing advanced systems and services for commercial, military, and
 8
 9   government customers worldwide.         On April 3, 2020, United Technologies

10   Corporation and Raytheon Company completed a merger and changed the
11
     Company’s name to “Raytheon Technologies Corporation” and its common stock
12
13   symbol to “RTX.” Before the merger in April 2020, Raytheon Company stock
14   traded under the ticker symbol “RTN.”
15
      Materially False and Misleading Statements Issued During the Class Period
16
17         18.    The Class Period begins on February 10, 2016, when the Company
18   published its annual report on Form 10-K for the year ended December 31, 2015
19
     (the “2015 10-K”). The 2015 10-K was signed by Defendant Wood. The 2015
20
21   10-K stated the following, in pertinent part, regarding the Company’s internal
22
     controls and procedures: “Conclusion of Evaluation—Based on this evaluation,
23
24   the Chief Executive Officer and Chief Financial Officer concluded that our
25   disclosure controls and procedures as of December 31, 2015 were effective.
26
     (Emphasis added.)
27
28
29                                   6
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 7 of 34



 1
           19.   In a section signed by Defendants Kennedy and O’Brien, the 2015
 2
 3   10-K stated the following, in relevant part, regarding the “Company
 4   Responsibility for Financial Statements”:
 5
           The financial statements and related information contained in this
 6         Annual Report have been prepared by and are the responsibility of our
 7         management. Our financial statements have been prepared in
           conformity with accounting principles generally accepted in the
 8
           United States of America and reflect judgments and estimates as to
 9         the expected effects of transactions and events currently being
10         reported. Our management is responsible for the integrity and
           objectivity of the financial statements and other financial information
11         included in this Annual Report. To meet this responsibility, we
12         maintain a system of internal control over financial reporting to
           provide reasonable assurance that assets are safeguarded and that
13         transactions are properly executed and recorded. The system
14         includes policies and procedures, internal audits and our officers’
           reviews.
15
16         Our Audit Committee of our Board of Directors is composed solely of
17         directors who are independent under applicable SEC and New York
           Stock Exchange rules. Our Audit Committee meets periodically and,
18         when appropriate, separately with representatives of the independent
19         registered public accounting firm, our officers and the internal
           auditors to monitor the activities of each.
20
21                                         ***
22         Management is responsible for establishing and maintaining adequate
23         internal control over financial reporting for the Company. In order to
           evaluate the effectiveness of internal control over financial
24
           reporting, as required by Section 404 of the Sarbanes-Oxley Act,
25         management has conducted an assessment, including testing, using
26         the criteria in Internal Control – Integrated Framework, issued by
           the Committee of Sponsoring Organizations of the Treadway
27         Commission (COSO) in 2013. The Company’s system of internal
28
29                                   7
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 8 of 34



 1         control over financial reporting is designed to provide reasonable
           assurance regarding the reliability of financial reporting and the
 2         preparation of financial statements for external purposes in
 3         accordance with accounting principles generally accepted in the
           United States of America . . . .
 4
 5         Based on its assessment, management has concluded that the
           Company maintained effective internal control over financial
 6         reporting as of December 31, 2015, based on criteria in Internal
 7         Control – Integrated Framework, issued by the COSO in 2013.
 8
     (Emphases added.)
 9
10         20.   The 2015 10-K provided the following regarding the Company’s

11   Integrated Defense Systems segment’s (now part of the Missiles & Defense
12
     segment) costs:
13
14
15
16
17
18
19
20
21
22         21.   The 2015 10-K provided the following regarding the Company’s
23
     Missile Systems segment’s (now part of the Missiles & Defense segment) costs:
24
25
26
27
28
29                                  8
                  CLASS ACTION COMPLAINT FOR VIOLATIONS
30                   OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 9 of 34



 1
 2
 3
 4
 5
 6
 7
 8
 9
           22.   On February 15, 2017, the Company published its annual report on
10
11   Form 10-K for the year ended December 31, 2016 (the “2016 10-K”). The 2016

12   10-K was signed by Defendant Wood.          In a section signed by Defendants
13
     Kennedy and O’Brien, the 2016 10-K stated the following, in pertinent part,
14
15   regarding the Company’s internal control over financial reporting: “Based on its
16   assessment, management has concluded that the Company maintained effective
17
     internal control over financial reporting as of December 31, 2016, based on
18
19   criteria in Internal Control – Integrated Framework, issued by the COSO in 2013.”
20
           23.   The 2016 10-K provided the following, in pertinent part, regarding
21
22   the Company’s Integrated Defense Systems and Missile Systems segments’ (what
23   would become the Missiles & Defense segment) financial results:
24
25
26
27
28
29                                   9
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
     Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 10 of 34



 1
 2
 3
 4
 5
 6
 7
                                       ***
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
                                       ***
22
23
24
25
26
27
28
29                               10
                CLASS ACTION COMPLAINT FOR VIOLATIONS
30                 OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 11 of 34



 1                                         ***

 2
 3
 4
 5
 6
 7
 8         24.   On February 14, 2018, the Company published its annual report on
 9
     Form 10-K for the year ended December 31, 2017 (the “2017 10-K”). The 2017
10
11   10-K was signed by Defendant Wood.          In a section signed by Defendants
12
     Kennedy and O’Brien, the 2017 10-K stated the following, in pertinent part,
13
14   regarding the Company’s internal control over financial reporting: “Based on its
15   assessment, management has concluded that the Company maintained effective
16
     internal control over financial reporting as of December 31, 2017, based on
17
18   criteria in Internal Control – Integrated Framework, issued by the COSO in 2013.”
19
           25.   The 2017 10-K provided the following, in pertinent part, regarding
20
21   the Company’s Integrated Defense Systems and Missile Systems segments’ (what

22   would become the Missiles & Defense segment) financial results:
23
24
25
26
27
28
29                                  11
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
     Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 12 of 34



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
                                       ***
12
13
14
15
16
17
18
19
20
21                                     ***

22
23
24
25
26
27
28
29                               12
                CLASS ACTION COMPLAINT FOR VIOLATIONS
30                 OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 13 of 34



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12         26.   On February 13, 2019, the Company published its annual report on
13
     Form 10-K for the year ended December 31, 2018 (the “2018 10-K”). The 2018
14
15   10-K was signed by Defendant Wood.          In a section signed by Defendants
16   Kennedy and O’Brien, the 2018 10-K stated the following, in pertinent part,
17
     regarding the Company’s internal control over financial reporting: “Based on its
18
19   assessment, management has concluded that the Company maintained effective
20
     internal control over financial reporting as of December 31, 2018, based on
21
22   criteria in Internal Control – Integrated Framework, issued by the COSO in 2013.”

23         27.   The 2018 10-K provided the following, in pertinent part, regarding
24
     the Company’s Integrated Defense Systems and Missile Systems segments’ (what
25
26   would become the Missiles & Defense segment) financial results:
27
28
29                                  13
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
     Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 14 of 34



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
                                       ***
25
26
27
28
29                               14
                CLASS ACTION COMPLAINT FOR VIOLATIONS
30                 OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 15 of 34



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
           28.   On February 12, 2020, the Company published its annual report on
13
14   Form 10-K for the year ended December 31, 2019 (the “2019 10-K”). The 2019
15
     10-K was signed by Defendant Wood.          In a section signed by Defendants
16
17   Kennedy and O’Brien, the 2019 10-K stated the following, in pertinent part,

18   regarding the Company’s internal control over financial reporting: “Based on its
19
     assessment, management has concluded that the Company maintained effective
20
21   internal control over financial reporting as of December 31, 2019, based on
22
     criteria in Internal Control – Integrated Framework, issued by the COSO in 2013.”
23
24         29.   The 2019 10-K provided the following, in pertinent part, regarding

25   the Company’s Integrated Defense Systems and Missile Systems segments’ (what
26
     would become the Missiles & Defense segment) financial results:
27
28
29                                  15
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
     Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 16 of 34



 1
 2
 3
 4
 5
 6                                     ***
 7
 8
 9
10
11
12
13
14
15
16
17
                                       ***
18
19
20
21
22
23                                     ***
24
25
26
27
28
29                               16
                CLASS ACTION COMPLAINT FOR VIOLATIONS
30                 OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 17 of 34



 1
 2
 3
 4
 5
 6
 7
 8
 9
10         30.    The statements referenced in ¶¶ 18-29 above were materially false
11
     and/or misleading because they misrepresented and failed to disclose the
12
13   following adverse facts pertaining to the Company’s business, operational and
14
     financial results, which were known to Defendants or recklessly disregarded by
15
16   them. Specifically, Defendants made false and/or misleading statements and/or

17   failed to disclose that: (i) Raytheon had inadequate disclosure controls and
18
     procedures and internal control over financial reporting; (ii) Raytheon had faulty
19
20   financial accounting; (iii) as a result, Raytheon misreported its costs regarding
21
     Raytheon Company’s Missiles & Defense business since 2009; (iv) as a result of
22
23   the foregoing, Raytheon was at risk of increased scrutiny from the government;

24   (v) as a result of the foregoing, Raytheon would face a criminal investigation by
25
     the U.S. Department of Justice (“DOJ”); and (vi) as a result, Defendants’ public
26
27   statements were materially false and/or misleading at all relevant times.
28
29                                  17
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 18 of 34



 1                                  The Truth Emerges

 2         31.    On October 27, 2020, during after-market hours, Raytheon filed its
 3
     quarterly report on Form 10-Q with the SEC for the quarter ended September 30,
 4
 5   2020 (the “3Q20 10-Q”). The 3Q20 10-Q announced an investigation by the DOJ

 6   into the Company, stating, in pertinent part:
 7
           On October 8, 2020, the Company received a criminal subpoena
 8         from the DOJ seeking information and documents in connection
 9         with an investigation relating to financial accounting, internal
           controls over financial reporting, and cost reporting regarding
10         Raytheon Company’s Missiles & Defense business since 2009. We
11         are cooperating fully with the DOJ’s investigation. At this time, the
           Company is unable to predict the outcome of the investigation. Based
12
           on the information available to date, however, we do not believe the
13         results of this inquiry will have a material adverse effect on our
14         financial condition, results of operations or liquidity.

15   (Emphasis added.)
16
           32.    On this news, the price of Raytheon shares fell $4.19 per share, or
17
18   approximately 7%, to close at $52.34 per share on October 28, 2020, on unusually
19
     heavy trading volume, damaging investors.
20
21         33.    As a result of Defendants’ wrongful acts and omissions, and the

22   precipitous decline in the market value of the Company’s securities, Plaintiff and
23
     other Class members have suffered significant losses and damages.
24
25                  PLAINTIFF’S CLASS ACTION ALLEGATIONS
26         34.    Plaintiff brings this action as a class action pursuant to Federal Rule
27
     of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons
28
29                                  18
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 19 of 34



 1   and entities other than Defendants that purchased or otherwise acquired Raytheon

 2   securities during the Class Period, and who were damaged thereby (the “Class”).
 3
     Excluded from the Class are Defendants, the officers and directors of Raytheon
 4
 5   and its subsidiaries, members of the Individual Defendants’ immediate families
 6   and their legal representatives, heirs, successors or assigns and any entity in which
 7
     Defendants have or had a controlling interest.
 8
 9         35.    The members of the Class are so numerous that joinder of all
10
     members is impracticable. Throughout the Class Period, Raytheon securities were
11
12   actively traded on the NYSE. While the exact number of Class members is
13   unknown to Plaintiff at this time and can be ascertained only through appropriate
14
     discovery, Plaintiff believes that there are hundreds, if not thousands of members
15
16   in the proposed Class.
17
           36.    Plaintiff’s claims are typical of the claims of the members of the
18
19   Class as all members of the Class are similarly affected by Defendants’ wrongful
20   conduct in violation of federal law that is complained of herein.
21
           37.    Plaintiff will fairly and adequately protect the interests of the
22
23   members of the Class and has retained counsel competent and experienced in class
24
     and securities litigation. Plaintiff has no interests antagonistic to or in conflict
25
26   with those of the Class.

27
28
29                                  19
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 20 of 34



 1          38.       Common questions of law and fact exist as to all members of the

 2   Class and predominate over any questions solely affecting individual members of
 3
     the Class. Among the questions of law and fact common to the Class are:
 4
 5                    a)   whether the Exchange Act was violated by Defendants’ acts as
 6   alleged herein;
 7
                      b)   whether statements made by Defendants to the investing public
 8
 9   during the Class Period misrepresented material facts about the financial condition
10
     and business of the Company;
11
12                    c)   whether Defendants’ public statements to the investing public
13   during the Class Period omitted material facts necessary to make the statements
14
     made, in light of the circumstances under which they were made, not misleading;
15
16                    d)   whether the Defendants caused the Company to issue false and
17
     misleading filings during the Class Period;
18
19                    e)   whether Defendants acted knowingly or recklessly in issuing
20   false filings;
21
                      f)   whether the prices of Raytheon securities during the Class
22
23   Period were artificially inflated because of the Defendants’ conduct complained of
24
     herein; and
25
26                    g)   whether the members of the Class have sustained damages and,

27   if so, what is the proper measure of damages.
28
29                                      20
                       CLASS ACTION COMPLAINT FOR VIOLATIONS
30                        OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 21 of 34



 1         39.    A class action is superior to all other available methods for the fair

 2   and efficient adjudication of this controversy since joinder of all members is
 3
     impracticable. Furthermore, as the damages suffered by individual Class members
 4
 5   may be relatively small, the expense and burden of individual litigation make it
 6   impossible for members of the Class to individually redress the wrongs done to
 7
     them. There will be no difficulty in the management of this action as a class
 8
 9   action.
10
           40.    Plaintiff will rely, in part, upon the presumption of reliance
11
12   established by the fraud-on-the-market doctrine in that:
13                a)    Raytheon shares met the requirements for listing, and were
14
     listed and actively traded on the NYSE, an efficient market;
15
16                b)    as a public issuer, the Company filed periodic public reports;
17
                  c)    Raytheon regularly communicated with public investors via
18
19   established market communication mechanisms, including through the regular
20   dissemination of press releases via major newswire services and through other
21
     wide-ranging public disclosures, such as communications with the financial press
22
23   and other similar reporting services;
24
                  d)    Raytheon’s securities were liquid and traded with moderate to
25
26   heavy volume during the Class Period; and

27
28
29                                  21
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 22 of 34



 1                e)     the Company was followed by a number of securities analysts

 2   employed by major brokerage firms who wrote reports that were widely
 3
     distributed and publicly available.
 4
 5         41.    Based on the foregoing, the market for Raytheon securities promptly
 6   digested current information regarding the Company from all publicly available
 7
     sources and reflected such information in the prices of the Company’s securities,
 8
 9   and Plaintiff and the members of the Class are entitled to a presumption of
10
     reliance upon the integrity of the market.
11
12         42.    Alternatively, Plaintiff and the members of the Class are entitled to
13   the presumption of reliance established by the Supreme Court in Affiliated Ute
14
     Citizens of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants
15
16   omitted material information in their Class Period statements in violation of a duty
17
     to disclose such information as detailed above.
18
19                                         COUNT I
20   (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
21                        Thereunder Against All Defendants)

22         43.    Plaintiff repeats and realleges each and every allegation contained
23
     above as if fully set forth herein.
24
25         44.    This Count is asserted against Defendants and is based upon Section
26
     10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
27
28   thereunder by the SEC.

29                                   22
                    CLASS ACTION COMPLAINT FOR VIOLATIONS
30                     OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 23 of 34



 1         45.   During the Class Period, Defendants, individually and in concert,

 2   directly or indirectly, disseminated or approved the false statements specified
 3
     above, which they knew or deliberately disregarded were misleading in that they
 4
 5   contained misrepresentations and failed to disclose material facts necessary in
 6   order to make the statements made, in light of the circumstances under which they
 7
     were made, not misleading.
 8
 9         46.   Defendants violated Section 10(b) of the Exchange Act and Rule
10
     10b-5 promulgated thereunder in that they:
11
12               •      employed devices, schemes and artifices to defraud;
13
                 •      made untrue statements of material facts or omitted to state
14
15                      material facts necessary in order to make the statements made,

16                      in light of the circumstances under which they were made, not
17
                        misleading; or
18
19               •      engaged in acts, practices and a course of business that
20
                        operated as a fraud or deceit upon plaintiff and others similarly
21
22                      situated in connection with their purchases of Raytheon

23                      securities during the Class Period.
24
           47.   Defendants acted with scienter in that they knew that the public
25
26   documents and statements issued or disseminated in the name of the Company
27   were materially false and misleading; knew that such statements or documents
28
29                                    23
                     CLASS ACTION COMPLAINT FOR VIOLATIONS
30                      OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 24 of 34



 1   would be issued or disseminated to the investing public; and knowingly and

 2   substantially participated, or acquiesced in the issuance or dissemination of such
 3
     statements or documents as primary violations of the securities laws.         These
 4
 5   Defendants by virtue of their receipt of information reflecting the true facts of the
 6   Company, their control over, and/or receipt and/or modification of Raytheon’s
 7
     allegedly materially misleading statements, and/or their associations with the
 8
 9   Company which made them privy to confidential proprietary information
10
     concerning the Company, participated in the fraudulent scheme alleged herein.
11
12         48.    The Individual Defendants, who are or were the senior officers and/or
13   directors of the Company, had actual knowledge of the material omissions and/or
14
     the falsity of the material statements set forth above, and intended to deceive
15
16   Plaintiff and the other members of the Class, or, in the alternative, acted with
17
     reckless disregard for the truth when they failed to ascertain and disclose the true
18
19   facts in the statements made by them or other Raytheon personnel to members of
20   the investing public, including Plaintiff and the Class.
21
           49.    As a result of the foregoing, the market price of Raytheon securities
22
23   was artificially inflated during the Class Period. In ignorance of the falsity of
24
     Defendants’ statements, Plaintiff and the other members of the Class relied on the
25
26   statements described above and/or the integrity of the market price of Raytheon

27   securities during the Class Period in purchasing Raytheon securities at prices that
28
29                                  24
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 25 of 34



 1   were artificially inflated as a result of Defendants’ false and misleading

 2   statements.
 3
              50.   Had Plaintiff and the other members of the Class been aware that the
 4
 5   market price of Raytheon’s securities had been artificially and falsely inflated by
 6   Defendants’ misleading statements and by the material adverse information which
 7
     Defendants did not disclose, they would not have purchased Raytheon’s securities
 8
 9   at the artificially inflated prices that they did, or at all.
10
              51.   As a result of the wrongful conduct alleged herein, Plaintiff and other
11
12   members of the Class have suffered damages in an amount to be established at
13   trial.
14
              52.   By reason of the foregoing, Defendants have violated Section 10(b)
15
16   of the Exhange Act and Rule 10b-5 promulgated thereunder and are liable to
17
     Plaintiff and the other members of the Class for substantial damages which they
18
19   suffered in connection with their purchases of Raytheon’s securities during the
20   Class Period.
21
                                             COUNT II
22
23       (Violations of Section 20(a) of the Exchange Act Against the Individual
                                        Defendants)
24
25            53.   Plaintiff repeats and realleges each and every allegation contained in
26
     the foregoing paragraphs as if fully set forth herein.
27
28
29                                    25
                     CLASS ACTION COMPLAINT FOR VIOLATIONS
30                      OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 26 of 34



 1         54.    During the Class Period, the Individual Defendants participated in the

 2   operation and management of the Company, and conducted and participated,
 3
     directly and indirectly, in the conduct of Raytheon’s business affairs. Because of
 4
 5   their senior positions, the Individual Defendants knew the adverse non-public
 6   information about the Company’s false financial statements.
 7
           55.    As officers of a publicly owned company, the Individual Defendants
 8
 9   had a duty to disseminate accurate and truthful information with respect to
10
     Raytheon’s financial condition and results of operations, and to correct promptly
11
12   any public statements issued by the Company which had become materially false
13   or misleading.
14
           56.    Because of their positions of control and authority as senior officers,
15
16   the Individual Defendants were able to, and did, control the contents of the various
17
     reports, press releases and public filings which Raytheon disseminated in the
18
19   marketplace during the Class Period concerning the Company’s results of
20   operations. Throughout the Class Period, the Individual Defendants exercised
21
     their power and authority to cause the Company to engage in the wrongful acts
22
23   complained of herein. The Individual Defendants, therefore, were “controlling
24
     persons” of the Company within the meaning of Section 20(a) of the Exchange
25
26   Act. In this capacity, they participated in the unlawful conduct alleged which

27   artificially inflated the market price of Raytheon securities.
28
29                                     26
                      CLASS ACTION COMPLAINT FOR VIOLATIONS
30                       OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 27 of 34



 1         57.    By reason of the above conduct, the Individual Defendants are liable

 2   pursuant to Section 20(a) of the Exchange Act for the violations committed by the
 3
     Company.
 4
 5                                PRAYER FOR RELIEF
 6         WHEREFORE, Plaintiff, on behalf of Plaintiff and the Class, prays for
 7
     judgment and relief as follows:
 8
 9         A.     Declaring this action to be a proper class action, designating Plaintiff
10   as Lead Plaintiff and certifying Plaintiff as class representative under Rule 23 of
11
     the Federal Rules of Civil Procedure and designating Plaintiff’s counsel as Lead
12
13   Counsel;
14
           B.     Awarding damages in favor of Plaintiff and the other Class members
15
16   against all defendants, jointly and severally, together with interest thereon;
17         C.     Awarding Plaintiff and the Class reasonable costs and expenses
18
     incurred in this action, including counsel fees and expert fees; and
19
20         D.     Awarding Plaintiff and other members of the Class such other and
21
     further relief as the Court may deem just and proper.
22
23
24
25
26
27
28
29                                  27
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 28 of 34



 1                            JURY TRIAL DEMANDED

 2        Plaintiff hereby demands a trial by jury.
 3   Dated: December 11, 2020              Respectfully submitted,
 4
                                           KELLER ROHRBACK L.L.P.
 5
 6
                                           By: /s/ Gary A. Gotto
 7
                                               Gary A. Gotto
 8                                             3101 N. Central Avenue, Suite 1400
 9                                             Phoenix, Arizona 85012
                                               Telephone: (602) 248-0088
10                                             Facsimile: (602) 248-2822
11                                             ggotto@kellerrohrback.com
12
13                                         POMERANTZ LLP
                                           Jeremy A. Lieberman
14
                                           (pro hac vice application forthcoming)
15                                         J. Alexander Hood II
16                                         (pro hac vice application forthcoming)
                                           600 Third Avenue
17                                         New York, New York 10016
18                                         Telephone: (212) 661-1100
                                           Facsimile: (212) 661-8665
19                                         jalieberman@pomlaw.com
20                                         ahood@pomlaw.com
21                                         POMERANTZ LLP
22                                         Patrick V. Dahlstrom
                                           (pro hac vice application forthcoming)
23
                                           10 South La Salle Street, Suite 3505
24                                         Chicago, Illinois 60603
25                                         Telephone: (312) 377-1181
                                           Facsimile: (312) 377-1184
26                                         pdahlstrom@pomlaw.com
27
28
29                                 28
                  CLASS ACTION COMPLAINT FOR VIOLATIONS
30                   OF THE FEDERAL SECURITIES LAWS
31
     Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 29 of 34



 1                                    BRONSTEIN, GEWIRTZ &
                                      GROSSMAN, LLC
 2                                    Peretz Bronstein
 3                                    (pro hac vice application forthcoming)
                                      60 East 42nd Street, Suite 4600
 4                                    New York, New York 10165
 5                                    Telephone: (212) 697-6484
                                      Facsimile: (212) 697-7296
 6                                    peretz@bgandg.com
 7
                                      Attorneys for Plaintiff
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29                               29
                CLASS ACTION COMPLAINT FOR VIOLATIONS
30                 OF THE FEDERAL SECURITIES LAWS
31
      Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 30 of 34



 1                            CERTIFICATE OF SERVICE
 2
           I hereby certify that on December 11th, 2020, the attached document was
 3
 4   electronically transmitted to the Clerk of the Court using the CM/ECF System

 5   which will send notification of such filing and transmittal of a Notice of Electronic
 6
     Filing to all CM/ECF registrants.
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29                                  30
                   CLASS ACTION COMPLAINT FOR VIOLATIONS
30                    OF THE FEDERAL SECURITIES LAWS
31
                Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 31 of 34


                                                                                   Friday, November 6, 2020

Raytheon (RTX)

CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS
1. I make this declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”)
and/or Section 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the
Private Securities Litigation Reform Act of 1995.

2. I have reviewed a Complaint against Raytheon Technologies Corporation (“Raytheon” or the “Company”)
and authorize the ﬁling of a comparable complaint on my behalf.

3. I did not purchase or acquire Raytheon securities at the direction of plaintiffs counsel, or in order to
participate in any private action arising under the Securities Act or Exchange Act.

4. I am willing to serve as a representative party on behalf of a Class of investors who purchased or
acquired Raytheon securities during the class period, including providing testimony at deposition and trial,
if necessary. I understand that the Court has the authority to select the most adequate lead plaintiff in this
action.

5. To the best of my current knowledge, the attached sheet lists all of my transactions in Raytheon
securities during the Class Period as speciﬁed in the Complaint.

6. During the three-year period preceding the date on which this Certiﬁcation is signed, I have not sought
to serve as a representative party on behalf of a class under the federal securities laws.

7. I agree not to accept any payment for serving as a representative party on behalf of the class as set
forth in the Complaint, beyond my pro rata share of any recovery, except such reasonable costs and
expenses directly relating to the representation of the class as ordered or approved by the Court.

8. I declare under penalty of perjury that the foregoing is true and correct.




Name


Print Name
Daniel Norris

Signature




                                                                                                              1
           Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 32 of 34




REDACTED




                                                                            2
           Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 33 of 34
REDACTED




                                                                            3
       Case 4:20-cv-00543-JCH Document 1 Filed 12/11/20 Page 34 of 34



Raytheon Technologies Corporation (RTX)                                        Norris, Daniel

                                   List of Purchases and Sales

   Transaction                                    Number of                Price Per
      Type                  Date                  Shares/Unit             Share/Unit

     Purchase                   10/3/2020                            33            $59.7300
     Purchase                  10/16/2020                            16            $61.5100
     Purchase                  10/13/2020                        0.1683            $59.4100
     Purchase                  10/13/2020                        0.1683            $59.4100
     Purchase                   10/5/2020                        0.1679            $59.5600
